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 5                                    UNITED STATES DISTRICT COURT

 6                                            DISTRICT OF NEVADA

 7

 8      UNITED STATES OF AMERICA,                            Case No. 2:16-CR-00305-KJD-VCF

 9                               Plaintiff,
                v.                                           ORDER
10      KAREEN ANDERSON,
11                           Defendant.

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13
               Presently before the Court is Defendant’s Motion Invoking Right to Counsel (#234). Also
14
       before the Court is Defendant’s Motion for Release Pending Sentencing (#229). Having read and
15
       considered the motion for right to counsel, and good cause being found it is GRANTED.
16
       Defendant’s stand-by counsel, CJA panel member Benjamin Durham, is hereby appointed as
17
       Defendant’s counsel for the purposes of sentencing.
18
               Defendant’s motion for release must be denied because he has not overcome the
19
       requirement created by 18 U.S.C. § 3143(a)(2) that he be detained. The Government is not
20     recommending that no sentence be imposed and Defendant’s guilty plea precludes a motion for
21     acquittal or new trial.

22             Accordingly, IT IS HEREBY ORDERED that Defendant’s Motion Invoking Right to

23     Counsel (#234) is GRANTED;

24     ///

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     Case 2:16-cr-00305-KJD-VCF           Document 240   Filed 05/09/18   Page 2 of 2



 1            IT IS FURTHER ORDERED that Defendant’s Motion for Release Pending Sentencing

 2     (#229) is DENIED.

 3     Dated this 8th day of May, 2018.

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                                                  Kent J. Dawson
 6                                                United States District Judge

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